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 1                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 2

 3   UNITED STATES OF AMERICA,
                                                   NO: 13-CR-146-RMP-1
 4                              Plaintiff,
                                                   ORDER DISMISSING INDICTMENT
 5          v.                                     WITH PREJUDICE

 6   GREGORY D. JEFFREYS,

 7                              Defendant.

 8

 9           Defendant Greg Jeffreys pleaded guilty to Counts 1, 2, 3, and 4 of the

10   Superseding Indictment in a companion case, Case No. 13-CR-12-RMP. Pursuant

11   to the Plea Agreement in that case, the Government agreed to dismiss the charges

12   pending against Defendant Greg Jeffreys in this case and Case No. 13-CR-11-RMP

13   following sentencing. ECF No. 403 in Case No. 13-CR-12-RMP.

14           Mr. Jeffreys was sentenced in Case No. 13-CR-12-RMP on June 5, 2014, in

15   accordance with the parties’ Rule 11(c)(1)(C) plea agreement. 1 At the conclusion

16   of Defendant Jeffreys’ sentencing, the Government made an oral motion to

17   dismiss, pursuant to Federal Rule of Criminal Procedure 48(a), all charges pending

18   in this case and Case No. 13-CR-11-RMP. The Court granted the oral motion.

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       Restitution was additionally litigated and entered pursuant to restitution amounts
     identified in the plea agreement as well as to contested amounts reserved for
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     argument by the parties pursuant to the plea agreement.



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 1   This Order is intended to memorialize the Court’s oral ruling granting the

 2   Government’s motion to dismiss the indictment with prejudice pursuant to Rule

 3   48(a).

 4            Accordingly, IT IS HEREBY ORDERED that the Government’s oral

 5   motion to dismiss the indictment is GRANTED. The Indictment entered in this

 6   case on September 18, 2013, is DISMISSED WITH PREJUDICE as to

 7   Defendant Greg Jeffreys only.

 8            The District Court Clerk is directed to enter this Order and provide copies to

 9   counsel.

10            DATED this 16th day of June 2014.

11
                                                     s/ Rosanna Malouf Peterson
12                                               ROSANNA MALOUF PETERSON
                                               Chief United States District Court Judge
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     ORDER DISMISSING INDICTMENT WITH PREJUDICE ~ 2
